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 3                               IN THE UNITED STATES DISTRICT COURT

 4                                  EASTERN DISTRICT OF CALIFORNIA

 5
     UNITED STATES OF AMERICA,                            1:11-CR-00354 LJO
 6
                                  Plaintiff,              STIPULATION TO EXTEND TIME FOR
 7                                                        GOVERNMENT’S RESPONSE TO
                            v.                            DEFENDANT’S MOTION TO REDUCE
 8
     FELIPE GUTIERREZ,                                    SENTENCE AND ORDER THEREON
 9
                                  Defendant.
10

11          The United States of America, by and through PHILLIP A. TALBERT, Acting United States

12 Attorney, and KATHLEEN A. SERVATIUS and KIMBERLY A. SANCHEZ, Assistant United States

13 Attorneys, and the defendant Felipe Gutierrez, by and through his attorney, Hannah Labaree, hereby

14 stipulate to extend the time for the government’s filing of its response to the defendant’s motion until

15 October 5, 2016. Government counsel is awaiting receipt of information from the Bureau of Prison in

16 order to complete the response.

17 Dated: October 5, 2016                                   PHILLIP A. TALBERT
                                                            Acting United States Attorney
18

19                                                    By: /s/ Kathleen A. Servatius
                                                          KATHLEEN A. SERVATIUS
20                                                        Assistant United States Attorney

21 Dated: September 30, 2016                        /s/ Hannah Labaree
                                                    Hannah Labaree, Attorney for Felipe Gutierrez
22

23 IT IS SO ORDERED.

24
        Dated:     September 30, 2016                       /s/ Lawrence J. O’Neill _____
25                                                  UNITED STATES CHIEF DISTRICT JUDGE

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27

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      STIPULATION FOR EXTENSION OF TIME AND ORDER
      THEREON
30
